                                     INFORMATION SHEET

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


1.      Title of Case: United States v. Joseph DeGregorio

2.      Related Magistrate Docket Number(s): N/A

3.      Arrest Date:   N/A                             1:22-cr-00030(KAM)(VMS)
4.      Nature of offense(s):   ‫ ܈‬Felony
                                տ Misdemeanor

5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
        Division of Business Rules):

6.      Projected Length of Trial:    Less than 6 weeks        ‫܈‬
                                      More than 6 weeks        տ

7.      County in which crime was allegedly committed: Queens
        (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
        pending or initiated before March 10, 2012.1        տ Yes ‫ ܈‬No

9.      Has this indictment/information been ordered sealed?              տ Yes ‫ ܈‬No

10.     Have arrest warrants been ordered?                                տ Yes ‫ ܈‬No

11.     Is there a capital count included in the indictment? տ Yes ‫ ܈‬No

                                                     BREON PEACE
                                                     United States Attorney
                                                                              Digitally signed by LAUREN
                                                     LAUREN ELBERT ELBERT
                                             By:     _____________________________
                                                                       Date: 2022.01.19 16:59:13 -05'00'

                                                     Lauren Howard Elbert
                                                     Assistant U.S. Attorney
                                                     (718) 254-7577




1
        Judge Brodie will not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
